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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                                CASE NO. 18-71767-pmb

 MICHAEL J BLYDENSTEIN,                                CHAPTER: 7

                Debtor.                                JUDGE: HONORABLE PAUL BAISIER

 PINGORA LOAN SERVICING, LLC,

                Movant,
 v.

 MICHAEL J BLYDENSTEIN, Debtor
 S. GREGORY HAYS, Trustee,

                Respondent(s).



       PINGORA LOAN SERVICING, LLC RESPONSE TO CHAPTER 7 TRUSTEE’S
        SECOND MOTION FOR AUTHORIZATION TO SELL PROPERTY OF THE
      BANKRUPTCY ESTATE FREE AND CLEAR OF ALL LIENS, INTERESTS, AND
       ENCUMBRANCES AND (B) DISBURSE CERTAIN PROCEEDS AT CLOSING

        COMES NOW, Pingora Loan Servicing, LLC (“Creditor”), by and through its
undersigned counsel, as and for its Response to Trustee’s Second Motion For Authorization To

Sell Property Of The Bankruptcy Estate Free And Clear Of All Liens, Interests, And

Encumbrances And (B) Disburse Certain Proceeds At Closing (“Response”), and in support states

as follows:
                                 I.     STATEMENT OF FACTS


        1.    On July 25, 2018, Michael J Blydenstein (“Debtor”) executed a promissory Note

in the principal sum of $214,500.00 (the “Note”). The Note is secured by a recorded mortgage (the
“Mortgage”) executed by Debtor on the real property located at 215 Mitchell Street Sw, Atlanta,
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GA 30303 (the “Property”). The reflects that it was duly recorded. Copies of the Note and are

collectively attached hereto as Exhibit A.
       2.      On December 30, 2018, the Debtor filed a voluntary petition under Chapter 13 of

the Bankruptcy Code in the United States Bankruptcy Court for the Northern District of Georgia -

Atlanta Division, and was assigned case number 18-71767-pmb.

       3.      On February 4, 2021, the Trustee filed a Trustee’s Second Motion For

Authorization To Sell Property Of The Bankruptcy Estate Free And Clear Of All Liens, Interests,

And Encumbrances And (B) Disburse Certain Proceeds At Closing (“Motion to Sell”) seeking

authorization to sell the Property.
                                         II.    RESPONSE

CREDITOR DOES NOT OPPOSE THE TRUSTEE’S MOTION TO SELL ON THE
CONDITION THAT THE FOLLOWING PROVISIONS ARE INCLUDED IN THE
ORDER:

       Creditor’s non-opposition to the Trustee’s Motion to Sell is contingent upon its Claim
being paid off in full or in accordance with any short sale approved by Creditor as follows:

       1.      Creditor’s Claim shall be paid off in full or in accordance with any short sale

approval authorized by Creditor before satisfying any other lien on the Property;
       2.      Creditor shall be permitted to submit an updated payoff demand to the applicable
escrow or title company facilitating the sale so that Creditor’s Claim is paid in full at the time the

sale of the Property is finalizedIn the event that the sale of the Property does not take place,
Creditor shall retain its Lien for the full amount due under the Subject Loan; and

       3.      To the extent that the Trustee disputes any amounts which Creditor claims are owed

on the Subject Loan, that the undisputed amount of Creditor’s Claim be paid at the close of the
sale and for the disputed amount of Creditor’s claim to be segregated in an interest bearing account

with an additional $10,000 in sale proceeds pending further Order of the bankruptcy court to allow

for Creditor’s potential recovery of any of its reasonable attorney’s fees and costs incurred to the

extent that Creditor successfully establishes its right to the disputed amount due on its Claim.
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       Based on the foregoing, Creditor submits its Response to the Trustee’s Motion to Sell, and

respectfully requests that the above-referenced provisions be included in any Order granting the
Trustee’s Motion to Sell.




                                                     Bryce Noel, Bar No.: 620796
                                                     Attorney for Movant
                                                     Aldridge Pite, LLP
                                                     Fifteen Piedmont Center
                                                     3575 Piedmont Road, N.E., Suite 500
                                                     Atlanta, GA 30305
                                                     Phone: (404) 994-7400
                                                     Fax: (888) 873-6147
                                                     Email: BNoel@aldridgepite.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                               Case No. 18-71767-PMB

  MICHAEL J BLYDENSTEIN,                               Chapter 7

                 Debtor.

                                CERTIFICATE OF SERVICE

   This is to certify that on this day I electronically filed the foregoing Response to Trustee’s

Motion to Sell using the Bankruptcy Court’s Electronic Case Filing program, which sends a notice

of this document and an accompanying link to this document to the following parties who have

appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

 G. Frank Nason, IV                               S. Gregory Hays

       I further certify that on this day I caused a copy of this document to be served via United

States First Class Mail, with adequate postage prepaid on the following parties set forth below at

the address shown for each.

 Michael J Blydenstein
 215 Mitchell Street, SW
 #9
 Atlanta, Ga 30303

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
                                                      /s/ Bryce Noel
                                                      Bryce Noel, Bar No.: 620796
                                                      Attorney for Movant
                                                      Aldridge Pite, LLP
                                                      Fifteen Piedmont Center
                                                      3575 Piedmont Road, N.E., Suite 500
                                                      Atlanta, GA 30305
                                                      Phone: (404) 994-7400
                                                      Fax: (888) 873-6147
                                                      Email: BNoel@aldridgepite.com
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